
933 So.2d 1260 (2006)
B.J., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 1D06-1069.
District Court of Appeal of Florida, First District.
July 24, 2006.
Nancy A. Daniels, Public Defender, and David P. Gauldin, Assistant Public Defender, Tallahassee, for Appellant.
Charlie Crist, Attorney General, and Trisha Meggs Pate, Assistant Attorney General, Tallahassee, for Appellee.
*1261 PER CURIAM.
Appellant, a juvenile, appeals an order transferring her cases to adult criminal court pursuant to section 985.226, Florida Statutes (2006). Concluding that the order is not subject to review by appeal, we dismiss this proceeding for lack of jurisdiction. See R.J.B. v. State, 408 So.2d 1048 (Fla.1982). We also decline appellant's invitation to undertake certiorari review of the order based on our conclusion that any error the trial court may have committed can be adequately remedied on appeal. See In the Interest of D.W., 616 So.2d 620 (Fla. 4th DCA 1993).
KAHN, C.J., WEBSTER, and HAWKES, JJ., Concur.
